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Attorneys for Defendant


                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


        UNITED STATES OF AMERICA,                              MOTION FOR DISCLOSURE OF
                                                                 ALL GIGLIO MATERIALS
                      Plaintiff,

                          v.
                                                                  Case No. 2:16-CR-00631 DAK
       AARON MICHAEL SHAMO, et. al.,
                                                                       Judge Dale A. Kimball
                     Defendant.


        Defendant, Aaron Michael Shamo, through his counsel, hereby moves the Court to enter

an order requiring the Government to disclose and produce all information, material, documents,

memoranda, or other available data concerning the credibility of any witnesses it intends to call

at trial either in its case in chief or as a rebuttal witness. In support, the Defendant alleges as

follows:
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                           STATEMENT OF RELEVANT FACTS

   1. On October 12, 2018, when the trial in this matter was scheduled to begin January 22,

2019, the Court entered a Trial Order requiring disclosure of all necessary information and data

pursuant to Brady/Giglio obligations by December 8, 2018.

   2. The Court had previously entered a Trial Order requiring disclosure of all necessary

information and data pursuant to Brady/Giglio obligations by April 24, 2019.

   3. On December 7, 2018, pursuant to the October 12th Order, the Government served

Defense Counsel, via email with the following (Attached as Exhibit A):

           a. Two screenshots of the PharmaMaster account on AlphaBay;

           b. Transcript of the interview of Katherine Bustin;

           c. Transcript of the interview of Mario Noble;

           d. Transcript of the interview of Brennda Kurstin;

           e. Transcript of the interviews of Drew Crandall;

           f. Transcript of the interviews of Luke Paz;

           g. Transcript of the interview of Alexandra Tonge;

           h. Transcript of the interview of Sean Gygi;

           i. Transcript of the interview of Tori Grace;

           j. Transcript of the recorded phone call alleged to be between Sean Gygi and Aaron

               Shamo;

           k. The email correspondence indicated the Court would also be providing certified

               copies of the SAPs of co-defendant who had previously pled guilty and Sealed

               Addendums;

           l. The email also indicated there may have been a statement made to Ryan Jensen
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               regarding not being charged if he cooperated with the investigation;

   4. The Government provided the immunity agreements of Ryan Jensen and Jessica Gleave

as exhibits.

   5. On July 31, 2019, a meeting between Defense Counsel and Plaintiff’s Counsel occurred.

During that meeting, Plaintiff’s Counsel indicated the only outstanding Brady/Giglio material

may be the criminal histories, as described above.

   6. At the July 31, 2019 meeting, the Government also indicated the Giglio questionnaires

provided to law enforcement came back with nothing to disclose.

   7. In follow-up correspondence, attached as Exhibit B, the Government provided criminal

history reports from Court Xchange for Jessica Gleave, Ryan Jensen, and Tina Young.

   8. Despite numerous witnesses from law enforcement and associated individuals with

potential criminal exposure in this matter, the Government has not provided any further Giglio

material.

   9. Defendant is aware that numerous associated parties and individuals from Defendant’s

own witness list have subsequently been indicted or charged in separate matters as well.

                                         ARGUMENT

       It appears there may be other Giglio materials not previously disclosed and unknown to

Defense Counsel. The information the Defendant seeks should include, but is not limited to, any

and all materials, data, and/or information know to the prosecution or which should be known to

the prosecution or law enforcement upon diligent inquiry, pursuant to Giglio v. United States,

405 U.S. 150, (1972). The information requested should include, but is not limited to, the

following:

       (1) Written plea and cooperation agreements between any witness and the government;
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          (2) Any letters, emails, text messages or other statements from investigating agents or

prosecutors specifically offering any form of leniency or inducement directly to a potential

witness or the legal representative of that witness or indirectly to the witness through his or her

spouse, family member or close friend of the witness and any statements from agents or

prosecutors that the agent or prosecutor knew or reasonably should have known would create a

subjective expectation of leniency in the witness;

          (3) The prior criminal history of the witness, including offenses committed as a juvenile

and any supervised release, pretrial release, probation or parole violations;

          (4) Any information in the possession of the prosecution or its agents or representatives

indicating any of the government’s witnesses obstructed or attempted to obstruct justice in this or

any other proceeding;

          (5) Evidence that is inconsistent with the witnesses’ anticipated trial testimony;

          (6) Evidence that tends to call into question the capacity of any witness to observe or

recall;

          (7) Evidence of any hostility a witness may have expressed or demonstrated toward a

defendant:

          (8) Evidence or information of prior bad acts of the witnesses that is relevant to the

witnesses’ credibility;

          (9) Any letters, emails, text messages or other statements from investigating agents or

prosecutors specifically or inferentially threatening a potential witness or the legal representative

of that witness or the spouse, family member or close friend of the witness if the witness failed to

testify or cooperate with the government including any statements from agents or prosecutors

that the agent or prosecutor knew or reasonably should have known would create a subjective
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fear in the witness of he not cooperating in the investigation or prosecution of the defendants;

       (10) Evidence or information indicating that the witness used or abused controlled

substances or abused alcohol;

       (11) Evidence or information that a witness suffers from a mental illness that would

affect his or her ability to perceive events or truthfully relate them;

       (12) Any promises financial or other consideration made to any witness, including relief

from any forfeiture or civil action within the jurisdiction of the investigating agents or

prosecutors and any actual financial payments or the provision of any food, shelter,

transportation or like benefits to any witness that could arguably reveal an interest or bias in the

witness in favor of the government or against the defendant or act as an inducement to testify or

to color the testimony of the witness.

       Therefore, Mr. Shamo, respectfully requests the court order that any and all Giglio

materials, as outlined above, be provided to Defense Counsel in advance of trial.

       DATED this 7th day of August 2019.

                                                SKORDAS & CASTON, LLC

                                                /s/ Gregory G. Skordas
                                                Gregory G. Skordas

                                                /s/ Kaytlin V. Beckett
                                                Kaytlin V. Beckett

                                                /s/ Daryl P. Sam
                                                Daryl P. Sam
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                                  CERTIFICATE OF SERVICE


 I hereby certify that on the August 7, 2019, I electronically filed a true and correct copy of the

foregoing MOTION FOR DISCLOSURE OF ALL GIGLIO MATERIALS, with the Clerk of

the Court using CM/ECF system, which sent notification of such filing to the following:

        Vernon G. Stejskal
        Vernon.stejskal@usdoj.gov

        Michael Gadd
        mgadd@agutah.gov

         Kent Burggraaf
         kburggraaf@agutah.gov



                                              /s/ Sabrina Snow-Legal Secretary
                                              SKORDAS & CASTON, LLC
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